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 1    ALEXEY KONDRATIEV
      3045 16th Sideroad,
 2    King City, Ontario L7B1A3
 3    Canada

 4    Pro Se Defendant
 5
 6                               UNITED STATES DISTRICT COURT
 7
                                        DISTRICT OF ARIZONA
 8
 9
10   Oleg Boyko, et al.
                                                          No. CV-23-01186-PHX-DLR
11                 Plaintiffs,
                                                          THE DEFENDAT’S ANSWER
12          v.                                            TO THE COMPLIANT
13   Alexey Kondratiev, et al.
14                 Defendants.
15
16
17
18           Defendant Alexey Kondratiev (“Kondratiev”) hereby answers the Compliant of

19    Plaintiffs as follows.
20
                                         NATURE OF THE ACTION
21
             1. Denied. Kondratiev denies that he owns the allegedly Infringing Website and
22
23               that he made “demonstrably false statements concerning Boyko’s character and
24
                 business practices”.
25
             2. Denied. Kondratiev never used Boyko’s name or the Boyko Mark “in bad
26
27               faith” with intent to profit from it due to Kondratiev being neither the owner
28               nor creator of the Infringing Website.
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 1       3. Denied.

 2       4. Denied.
 3
                                              THE PARTIES
 4
 5       5. Admitted.

 6       6. Admitted.
 7
         7. Admitted.
 8
         8. Denied.
 9
10                                    JURISDICTION AMD VENUE
11       9. Admitted.
12
         10. Denied.     Kondratiev   never   registered   <olegvboyko.website>   through
13
14          NameCheap Inc. and is therefore not subject to its Registration Agreement.
15       11. Denied.
16
         12. Denied. This Court has no jurisdiction over Kondratiev.
17
18                         FACTS COMMON TO ALL CAUSES OF ACTION

19       13. Admitted.
20
         14. Admitted.
21
         15. Admitted in part, denied in part. Kondratiev denies that he added Boyko as a
22
23          “cross-defendant” to Arcadia’s litigation.
24       16. Denied. None of Kondratiev’s claims were dismissed before December 2016
25
            nor were they dismissed shortly thereafter.
26
27       17. Denied. Kondratiev specifically denies any accusations of extorting Mr.

28          Boyko.


                                               2
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 1       18. Denied. Kondratiev denies registering the domain <olegvboyko.website> with

 2          NameCheap.
 3
         19. Denied in part, admitted in part. The “Infringing Website” contains
 4
 5          information from United States government agencies and mass-media

 6          publications linking Oleg Boyko to organized crime and Russian intelligence
 7
            agencies. Particularly, the website in question links Mr. Boyko to the Nahman‐
 8
            Trincher gambling ring.
 9
10       20. Denied. A Court in Latvia ruled on a separate web site which had no
11          resemblance to the “Infringing Website”. This Latvian Court has no
12
            jurisdiction in the State of Arizona.
13
14       21. Denied.
15       22. Admitted in part, denied in part. Kondratiev admits that the phone number 1-
16
            416-456-9875 belongs to him.
17
18       23. Denied.

19       24. Denied.
20
                                              COUNT ONE
21
         25. Denied.
22
23       26. Admitted.
24       27. Admitted.
25
         28. Denied.
26
27       29. Denied.

28       30. Denied.


                                               3
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 1       31. Denied.

 2       32. Denied. Kondratiev explicitly denies that he registered, trafficked in, and/or
 3
            used the Defendant Domain Name with the intent to profit from the Boyko
 4
 5          Mark.

 6       33. Denied.
 7
         34. Denied.
 8
         35. Denied.
 9
10       36. Denied.
11       37. Denied. Kondratiev explicitly denies that he registered, trafficked in, and/or
12
            used the Defendant Domain Name to divert consumers from the legitimate
13
14          website.
15       38. Denied. Kondratiev points out that the Complaint contains erroneously
16
            numbered paragraphs 39, 41, and 45 suggesting that the Complaint was
17
18          prepared in haste without proofreading by all five of the Plaintiffs’ listed

19          lawyers.
20
         39. Denied.
21
         40. Denied.
22
23       41. Denied.
24       42. Denied.
25
         43. Denied.
26
27       44. Denied.

28       45. Denied. This paragraph number was entered in error.


                                             4
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 1       46. Denied.

 2       47. Denied.
 3
                                            COUNT TWO
 4
 5       48. Denied.

 6       49. Denied.
 7
         50. Denied.
 8
         51. Denied. Kondratiev specifically denies that he had a “specific intent to profit
 9
10          from the Domain Name” that he doesn’t own. Kondratiev also denies that
11          “Kondratiev’s $10 million dollar claims against Boyko were dismissed in the
12
            Canada Lawsuit”.
13
14       52. Denied.
15       53. Denied.
16
         54. Denied.
17
18       55. Denied.

19       56. Denied.
20
         57. Denied.
21
         58. Denied.
22
23       59. Denied.
24       60. Denied.
25
                                           COUNT III [sic]
26
27       61. Denied.

28       62. Denied.


                                              5
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 1          63. Denied.

 2          64. Denied.
 3
            65. Denied.
 4
 5          66. Denied.

 6                                          PRAYER FOR RELIEF
 7
            WHEREFORE, Kondratiev denies that the Plaintiffs are entitled to any of the
 8
     relief requested in the unnumbered “WHEREFORE” clause following Paragraph 66,
 9
10   including subparts (i) through (ix), and respectfully requests that the Court dismiss the
11   Complaint in its entirety and enter judgment in his favor and against the Plaintiffs.
12
            The final paragraph also requires no response. To the extent a responsive pleading
13
14   is required, Kondratiev denies that the Plaintiffs are entitled to a jury trial.
15
16
17                                       AFFIRMATIVE DEFENSES
18
19          Defendant hereby asserts the following affirmative defenses:

20
                                               FIRST DEFENSE
21
22
            The Complaint fails to state a claim upon which relief may be granted.
23
24                                           SECOND DEFENCE
25
26
27
28



                                                    6
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 1           The Plaintiffs have not produced any evidence that Kondratiev was somehow involved in

 2      the alleged cybersquatting, and they further provided no evidence that Kondratiev has done
 3                            anything that falls into jurisdiction of this Court.
 4
 5                                          THIRD DEFENCE
 6          Upon information and belief, the Plaintiffs’ claims are barred, in whole or in part, by
 7
     applicable statutes of limitation.
 8
 9
            DATED this 8th day of August 2023               Respectfully submitted,
10
11
12                                                          By: ________________
13                                                          Alexey Kondratiev
14
                                                            Pro Se Defendant
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